Case 1:22-cv-20327-DPG Document 27 Entered on FLSD Docket 02/15/2022 Page 1 of 4



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     CASE NO.: 22-CV-20327-DPG

  FREEDOM FRESH, LLC,

          Plaintiff,

  v.

  CRYSTAL CRUISES, LLC, FOOK YEW AU,
  KEVIN C. JONES, RICARD JAVIER CELORIO,
  JESSICA S. HOPPE, and JACK DU WAYNE
  ANDERSON,

          Defendants,

  _______________________________________/

        NON-PARTY BANK OF AMERICA, N.A.’S AMENDED EXPEDITED MOTION
              (AS TO CONFERRAL PURSUANT TO LOCAL RULE 7.1(a)(3))
       FOR EXTENSION OF TIME TO COMPLY WITH OR SEEK CLARIFICATION OF
                 STIPULATION AND ORDER OF SETTLEMENT [DE 23]

          Non-Party, Bank of America, N.A. (“Bank of America” or the “Bank”), by and through its

  undersigned counsel, hereby moves this Court for a brief extension of time to comply with or seek

  clarification of the Stipulation and Order of Settlement [DE 23], and as grounds thereof states as

  follows:

          1.      Non-party, Bank of America, a neutral stakeholder, hereby requests an expedited

  ruling by the close of business on Friday, February 18, 2022, extending the time to comply with

  or clarifying the Stipulation and Order of Settlement, requiring the Bank to turnover funds to

  Plaintiff’s counsel by February 11, 2022, in light of the competing claims by Crystal Cruises,

  LLC’s creditors or interested persons directed at the Bank with respect to the funds at issue in the

  Stipulation and Order of Settlement.

          2.      In compliance with Local Rule 7.1(a)(3), the undersigned conferred with counsel

  over the telephone on February 15, 2022 with counsel for all parties and non-parties who may be


                                           LIEBLER, GONZALEZ & PORTUONDO
                       Courthouse Tower - 25th Floor, 44 West Flagler Street, Miami, FL 33130 (305) 379-0400
Case 1:22-cv-20327-DPG Document 27 Entered on FLSD Docket 02/15/2022 Page 2 of 4

  CASE NO.: 22-CV-20327-DPG


  affected by the relief sought in this motion in a good faith effort to resolve the issues raised in this

  motion and counsel for all parties and non-parties have no objection to the relief sought in this

  motion.

         3.      On January 31, 2022, Plaintiff Freedom Fresh, LLC, initiated the instant lawsuit

   against Crystal Cruises, LLC, and other defendants.

         4.      On or about February 4, 2022, this Court issued an Order Granting Temporary

   Restraining Order (the “TRO”) [DE 18], which provides in relevant part that “…banking

   institutions…shall not alienate, dissipate, pay over or assign any assets of Crystal Cruises or its

   subsidiaries or related companies until further order of this Court.”

         5.      On or about February 8, 2022, the parties entered into a settlement agreement

   whereby they stipulated for non-party Bank of America to wire “$322,652.94 to the Client Trust

   Account of McCarron & Diess pursuant to the instructions of Plaintiff’s counsel” [DE 21].

   (the “Settlement Stipulation”).

         6.      That same date, this Court adopted the Settlement Stipulation by executing the

   Stipulation and Order of Settlement [DE 23] (the “Stipulated Turnover Order”). The Stipulated

   Turnover Order provides for the Bank to make best efforts to deliver the “PACA Payment” within

   three days of entry of this Stipulation and Order.

         7.      The Bank is holding funds pursuant to the TRO and other competing legal orders

   issued by another court. The Bank has reached out to the competing creditor and is trying to

   obtain a clear response on whether the creditor unconditionally consents to the Bank delivering

   the PACA payment.

         8.      In addition, Defendant Crystal Cruises, LLC notified the Bank’s outside counsel on

   Friday afternoon that Crystal Cruises, LLC had commenced an Assignment for the Benefit of


                                                                2

                                          LIEBLER, GONZALEZ & PORTUONDO
                      Courthouse Tower - 25th Floor, 44 West Flagler Street, Miami, FL 33130 (305) 379-0400
Case 1:22-cv-20327-DPG Document 27 Entered on FLSD Docket 02/15/2022 Page 3 of 4

  CASE NO.: 22-CV-20327-DPG


   Creditors. To date, the Bank has not received the assignment or related records. The Assignee

   does not object to the Bank making the PACA Payment but expects funds in excess of the PACA

   Payment to be disbursed to him.

         9.      The undesigned has therefore requested Defendant Crystal Cruises, LLC to provide

   joint written instructions from all persons with a potential claim to the funds comprising the

   PACA Payment that they have no objection to the Bank making the PACA payment without

   imposing any conditions on the Bank in exchange for their consent.

         10.     The Bank is a neutral stakeholder and should not be required to determine the

   priority of competing claims by Crystal Cruises, LLC’s creditors or interested persons.

         WHEREFORE, BANK OF AMERICA respectfully requests that the Court enter an Order

  granting the Bank a brief extension of time to comply with or seek clarification of the Stipulation

  and Order of Settlement [DE 23], and for any other relief this Court deems just and proper.

        CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3);
   CONFERRED BUT UNABLE TO RESOLVE ISSUES PRESENTED IN THE MOTION

         Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the movant has

  conferred with all parties or non-parties who may be affected by the relief sought in this motion

  in a good faith effort to resolve the issues but has been unable to resolve the issues.

                                                                    LIEBLER, GONZALEZ & PORTUONDO
                                                                    Attorneys for Bank of America, N.A.
                                                                    Courthouse Tower - 25th Floor
                                                                    44 West Flagler Street
                                                                    Miami, FL 33130
                                                                    (305) 379-0400
                                                                    service@lgplaw.com

                                                                    By: /s Miguel M. Cordano
                                                                           MIGUEL M. CORDANO
                                                                               Florida Bar No.: 0523682
                                                                               mc@lgplaw.com
                                                                               JAIMEE L. BRAVERMAN
                                                                               Florida Bar No. 62452
                                                                               jlb@lgplaw.com

                                                               3

                                         LIEBLER, GONZALEZ & PORTUONDO
                     Courthouse Tower - 25th Floor, 44 West Flagler Street, Miami, FL 33130 (305) 379-0400
Case 1:22-cv-20327-DPG Document 27 Entered on FLSD Docket 02/15/2022 Page 4 of 4

  CASE NO.: 22-CV-20327-DPG


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this February 15, 2022, I electronically caused the foregoing

  document to be filed with the Clerk of Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record in the manner specified via transmission

  of Notices of Electronic Filing generated by CM/ECF.



                                                                    /s/ Miguel M. Cordano
                                                                    MIGUEL M. CORDANO




                                                               4

                                         LIEBLER, GONZALEZ & PORTUONDO
                     Courthouse Tower - 25th Floor, 44 West Flagler Street, Miami, FL 33130 (305) 379-0400
